                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           DOCKET NO. 3:01-cr-00086-FDW
 UNITED STATES OF AMERICA,                       )
                                                 )
 vs.                                             )
                                                 )
 RONALD LAZARUS HIGGS,                           )                    ORDER
                                                 )
        Defendant.                               )
                                                 )



       THIS MATTER is before the Court on Defendant’s Motion for Reduced Sentence under

the First Step Act of 2018 (Doc. No. 109).

       The Court hereby ORDERS the Government to respond to Defendant’s motion. The

Government shall have twenty-one (21) days from the date of this Order to file its response with

the Court. The Government shall advise the United States Probation Office if the Government

believes a supplemental Presentence Investigation Report will be required.

       IT IS SO ORDERED.



                                     Signed: October 20, 2020




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